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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re       Cynthia Ann Weems                                                                                Case No.      21-51776
                                                                                 Debtor(s)                    Chapter       13

               AMENDED DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,500.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  4,500.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 If this case if filed under Chapter 7, the above-disclosed fee includes the following services:

                  Negotiations with secured creditors to reduce to market value of personal property; exemption planning;
                  preparation and filing of reaffirmation agreements and applications as needed; preparation and filing of motions
                  pursuant to 11 USC 522 (f)(2)(A) for avoidance of liens on household goods.

                  I certify that a copy of the Debtor the Rights and Responsibilities Statement as set forth in General Order No. 9
                  dated September 8, 2003, has been provided to, and discussed with, the debtor(s).

                  If this case is filed under Chapter 13, the above-disclosed fee includes the following services:

                  Helping client obtain pre-filing credit briefing
                  Helping client obtain pay advices
                  Helping client obtain tax transcripts/returns
                  Initial Intake
                  Change of address
                  Stop creditor actions against client
                  Motion to Extend Stay or to Impose Stay - for second case within a year or third case within a year respectively.
                  Motion for Finding of Exigent Circumstances
                  Obtaining Employment Deduction Order and serving employer
                  Order to Vacate Employer Deduction Order
                  341 Hearing and Reset Hearing
                  Confirmation Hearing and Reset Confirmation Hearing
                  Modification necessary to confirm plan
                  Lien avoidances necessary to confirm plan
                  Objections to claim necessary to confirm plan
                  Bar date review (and all resulting/related pleadings)
                  Provide information in obtaining pre-discharge financial counseling certificates
                  Pre-Confirmation trustee or creditor motions to modify plan



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 In re       Cynthia Ann Weems                                                                       Case No.     21-51776
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                  I certify that a copy of the Rights and Responsibilities Statement which is referenced in General Order No. 6-2006
                  has been provided to, and discussed with the debtor(s).

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               If this case is filed under Chapter 13, the above-disclosed fee does not include the following services:

                  The following services are $300.00 - Post Confirmation Amendment to SOFA or Schedules; Application to
                  Employ Professional; Letter to Retain Tax Refunds, Motion to suspend or excuse plan payments.

                  The following services are $500.00 - Post Confirmation Abandonment of Property; Post-Confirmation
                  modification of plan payment; Post-confirmation MFRS for non-payment or no insurance; Application for outside
                  loan; Post Bar date review objection to claim; Objections to Fees per rule 3002.1; Motion to Reopen, Vacate, or
                  Reconsider Dismissal; Motion to Re-Impose Stay; Motion to Retain Tax Refunds; Defense of TMTD.

                  The following services are $750.00 - Post confirmation MFRs based on payment disputes; Motion to Sell property
                  of the estate; Motion to Approve Compromise and Settlement Proceeds; Motion to Modify Loan, Refinance, or
                  Incur Debt; Motion to ratify or validate loan; Motion to Sever/Dismiss as to one joint debtor

                  The following services are not included in the base fee are billed at an hourly rate of $300/hour: Adversary
                  Proceedings; Appellate Practices; Rule 2004 Examinations; Evidentiary Hearings; Section 505 hearing
                  (determining tax liability); Post-filing, Pre-Divorce case analysis and financial planning; Motion to Redeem;
                  Motions for Contempt; Actions to enforce the Automatic Stay; Actions to enforce the Bankruptcy Discharge.

                  The Slomka Law Firm, PC reserves the right and may keep time and expense records for any non-base service
                  and apply to the court for the approval of the fees and expenses incurred. All base and non-base fees for Chapter
                  13 cases will be added to your plan (unless paid directly by the Debtor or a third party) and paid directly through
                  your plan. Non-base fees added to your plan may result in an increase in your monthly payment, an extension of
                  time in your plan, or both.


                  If the case is converted to another chapter or dismissed prior to confirmation of the Plan, Debtor directs the
                  Trustee to pay fees to Debtor's attorney from funds available of $2,000.00. If the case is converted or dismissed
                  after the confirmation of the Plan, Debtor directs the Trustee to pay to Debtor's attorney from funds available, any
                  allowed fees which are unpaid.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding. Pursuant to General Order No. 9, I certify that I provided to the debtor(s) a copy of the "Rights and Responsibilities
 Statement Between Chapter 13 Debtors and Their Attorneys." I certify that a copy of each of the notices required by 11 U.S.C. Section 342(b),
 527(a)(2) and Section 527(b) have been provided to, and discussed with the Debtor.

     April 21, 2021                                                             /s/ Shawn J Eisenberg
     Date                                                                       Shawn J Eisenberg
                                                                                Signature of Attorney
                                                                                Eisenberg Law, LLC
                                                                                PO Box 683153
                                                                                Marietta, GA 30068
                                                                                404-800-4001 Fax: 1-888-259-6137
                                                                                Name of law firm




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